EXHIBIT C
                TEXAS HEALTH AND HUMAN SERVICES COMMISSION



                                                                                              ALBERT HAWKINS
                                                                                            EXECUTIVE COMMISSIONER

                                              May 1, 2008


Mr. James Frizzera, Director
Financial Management Group S3-13-23
Center for Medicaid and State Operations
7500 Security Boulevard
Baltimore, Maryland 21244-1850

Re: Deferrals ##TX/2007/3/E/1 l/MAP; TX/2007/3/E/12/MAP; TX/2007/4/E/15/MAP

Dear Mr. Frizzera:

The purpose of this letter is to set forth the steps that the Texas Health and Human Services
Commission (the Commission or HHSC) proposes be taken to resolve the outstanding issues
that have arisen in the private hospital UPL program as reflected in the deferral letters that CMS
has issued:

   •   Letter of October 5, 2007, deferring $37,583,374 in FFP (deferral #1);
   •   Letter of October 5, 2007, deferring $72,633,689 in FFP (deferral #2); and
   •   Letter of January 28, 2008, deferring $50,052,809 in FFP (deferral #3).

After careful consideration and review, the Commission has determined that it should not pursue
certain of the claims covered by deferral #1, but that the claims covered by deferrals## 2 and 3
are consistent with federal law and the state plan. At the same time the Commission has
developed a set of criteria to guide hospitals participating in the private hospital UPL program in
the future. A copy of the criteria is attached.

The expenditures reported in the CMS-64 form for the quarter ending June 30, 2007, that are the
subject of deferral #1 totaled $157,662,161.21. Of this amount, $61,835,099.63 was derived
from intergoverrunental transfers (IGTs) that CMS has questioned based on a concern that the
transfen-ed funds were recouped by the transferring local government entities from the private
hospitals receiving the UPL payments. In light of that concern, we will reduce our claimed
expenditures by the amount of the IGTs so questioned. This will reduce the State's FFP claim by
the amount of the deferral ($37,583,374).

We have made this adjustment on the appropriate CMS form for the quarter ending March 31,
2008, which we submitted on April 30, 2008. In order to clarify this disposition for accounting


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and reconciliation purposes, we request that CMS take the necessary steps to withdraw deferral
#1.

In our letters to CMS dated February 4, 2008, relating to deferral #2, and March 31, 2008,
relating to deferral #3, we have set forth the basis for our determination, after investigation and
review, that the claims covered by those deferrals were proper and qualified for FFP. We ask
that CMS also take the necessary steps to withdraw these deferrals, so that the State may
immediately receive the FFP withheld by deferral letters ##2 and 3.

The Commission does not intend to recover from the private hospitals any of the payments made
to them that are the subject of defe1rnl #1. However, it does intend to retain, from future IGTs
from local government entities that are in excess of the amounts needed to fund the non-federal
share of UPL payments, amounts equal to the amount covered by deferral # 1. In this manner, the
excess IGTs will replace the federal funds, covered by deferral #1, that the State did not receive.

Use of the payments made by HHSC to the private hospitals in the UPL program during the
period in which HHSC retains excess portions of the IGTs (as well as thereafter) will be
governed by the criteria referred to previously and attached to this letter, as well as by applicable
federal and state laws and regulations.

We would appreciate your confirmation that the resolution of the issues outlined in this letter are
satisfactory to CMS, and that it will release the funds covered by deferrals ##2 and 3 in
accordance with the foregoing.

Sincerely,



Chris Traylor
Associate Commissioner for Medicaid and CHIP

Attachment

cc:    Albert Hawkins, Executive Commissioner
       Charles Bell, Deputy Executive Commissioner for Health Services
       Tom Suehs, Deputy Executive Commissioner for Financial Services




                                                                                           HHSC000145
              Attachment

  Prospective Conditions of Participation
                   in the
Texas Private Hospital Upper Payment Limit
  Supplemental Reimbursement Program




                                             HHSC000146
  Prospective Conditions of Participation in the Texas Private Hospital Upper
            Payment Limit Supplemental Reimbursement Program
In consideration of the resolution of the pending deferrals of the State of Texas' requests for
federal financial participation pursuant to the Texas Private Hospital Upper Payment Limit
(UPL) supplemental payment program, the Texas Health and Human Services Commission will
establish additional conditions of participation by private hospitals and local governmental
entities. The conditions will be effective upon resumption of the supplemental payments and
will apply to all payments made after April 15, 2008.

I. No linkage between Indigent Care obligations and UPL Payments

The indigent care obligation of a private hospital that is affiliated with a governmental entity for
purposes of participation in the Private Hospital UPL supplemental payment program will not be
conditioned or measured by the amount of supplemental payments a private hospital receives
under the program. Likewise, the amount of supplemental payments a private hospital receives
under the Private Hospital UPL supplemental payment program will not be conditioned or
measured by the amount of indigent care the private hospital provides, subject to the
documentation and evaluation conditions described in sections I.A and III below. A participant
may consider the amount of supplemental payments it expects to receive in deciding whether,
and to what degree, it will participate in the indigent care program. A government entity may
consider the historical experience in the indigent care program in deciding whether to make an
intergovernmental transfer of funds, or the amount of such a transfer.

A private hospital receiving UPL supplemental payments may not be assigned the indigent care
contractual or statutory obligations of a transferring governmental entity. However, a private
hospital that receives UPL supplemental payments may provide indigent care by entering into its
own arrangements (contractual or otherwise) with health care providers that had previously
provided indigent care services to the transferring governmental entity.

        A. Permissible documentation

        In determining whether to make an intergovernmental transfer of funds to provide the
        state share of supplemental payments and/or the amount of such a transfer, a
        governmental entity may rely on documentation that demonstrates the amount and types
        of indigent care needs in the community and the amount and types of health care
        (including indigent health care and Medicaid services) historically provided in the
        community. The governmental entity may not condition the amount to which it funds the
        non-Federal share of supplemental payments on a specified or required minimum amount
        of prospective indigent care.

        Any documentation utilized in connection with intergovernmental transfers of funds shall
        be publicly available for review.

        B. Certification



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April 30, 2008                                                                             HHSC000147
                                                            Texas Health & Human Services Commission
        HHSC will require certifications from both funding governmental entities and private
        hospitals that affirm the following:

                 (1) That there is no agreement to condition the amonnt transferred by the
                     government entities nor the amount ofUPL payments on the amount of
                     indigent care a private hospital has provided or will provide;

                 (2) That there is no agreement to condition the amount of the private hospital's
                     indigent care obligation on the amount transfened by the government entities
                     nor the amount of any UPL payment the hospital might receive;

                 (3) That no escrow, trust, or other funding mechanism exists, the amount of
                     which is conditioned or contingent on the amount of indigent care services
                     provided or to be provided by private hospitals receiving UPL supplemental
                     payments; and that any escrow, trust or other funding mechanism utilized in
                     connection with an anticipated intergovernmental transfer from a
                     governmental entity has been disclosed to HHSC and is in no way intended to
                     facilitate or constitute a quid pro quo for the provision of indigent care
                     services by or on behalf of the private hospitals; and

                 (4) That the governmental entity has not received and will not receive refunds of
                     payments the governmental entity made or makes to the private hospitals for
                     any purpose in consideration for an IGT by the government entity to fund
                     UPL supplemental payments.

        A governmental entity may retrospectively evaluate the amount and impact of a
        hospital's indigent care delivery during the period it receives supplemental payments and
        can rely on such historical information in determining whether, and to what degree, it will
        provide an IGT and/or set aside government funds in an escrow account in the future.

II. No cash or in-kind transfers

The Private Hospital UPL program must not include cash or in-kind transfers from affiliated
private hospitals to the governmental entities that supply the IGT to fund the state share of UPL
payments other than transfers and transactions that are unrelated to the administration of the
Private UPL program and/or the delivery of indigent care services and represent:

                 (1) Fair market value for goods and/or services rendered to the private hospital;
                     and

                 (2) Independent, bona fide transactions negotiated at arms-length and in the
                     ordinary course of business between the hospital and the governmental entity.

III. Performance evaluations allowable

        A. Authority of Governmental Entity to Evaluate Impact


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April 30, 2008                                                                               HHSC000148
                                                              Texas Health & Human Services Commission
           A governmental entity that supplies the intergovernmental transfer to fund the state share
           of UPL payments must, consistent with its fiduciary duty under the Texas Constitution
           and state law, have the ability to dete1mine whether its investment of taxpayer funds
           increases the level of indigent care provided in the community and improves access to
           care for the needy in its community.

           B. Audit Authority

           To that end, a governmental entity may implement reasonable pre- and post performance
           evaluation measures to-

                    (1) Determine whether to execute an affiliation agreement with a private hospital;

                    (2) Dete1mine whether to continue an affiliation agreement with a private
                        hospital; and

                    (3) Provide accountability to local taxpayers.

           C. Pre-performance Evaluation Criteria

           A governmental entity may consult with community leaders, advocates for the poor, and
           other stakeholders in assessing the opportunities to improve access to health care for
           indigent persons residing in the community through participation in the UPL program.
           These efforts can be documented in a form acceptable to the governmental entity to
           confirm achievement of the governmental entity's mission and provide an appropriate
           and constitutional basis on which to supply local taxpayer funds to the State for the
           purpose of supplying the state share of costs.

           This documentation, however, must not include:

                    (1) A commitment that a private hospital perform or supply an amount of indigent
                        care that is determined or measured on the basis of the amount of UPL funds
                        it receives; or, a commitment that a government entity will transfer as the non-
                        Federal share of UPL payments an amount that is determined or measured by
                        the amount of indigent care a hospital performs or supplies.

                    (2) An agreement to refund any type of payments made by the governmental
                        entity to the private hospital; or

                    (3) An assessment of a hospital's performance based solely on the amount of
                        services the hospital provides to Medicaid recipients. 1

           D. Post-performance Evaluation Criteria

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    A governmental entity may take into account all forms of indigent care, charity care, or care to the needy
an affiliated private hospital provides, including care to Medicaid recipients; provided, however, the amount of
-Medicaid services is- not the -sole criterion.

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                                                                                                         HHSC000149
April 30, 2008                                                            Texas Health & Human Services Commission
        A governmental entity may retrospectively evaluate the pe1formance of a private hospital
        that is affiliated with the governmental entity to determine whether the hospital's
        participation benefited the community and whether its continued pmticipation in the
        program is likely to continue benefiting the community. The governmental entity may
        collect, analyze, and report such data to the taxpayers on a post-hoc basis on an annual,
        semi-annual, or quarterly schedule. The governmental entity may not attempt to recoup
        funds from a private hospital that it determines has not adequately performed under the
        affiliation agreement.




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                                                                                          HHSC000150
                                                           Texas Health & Human Services Commission
April 30, 2008
